Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 1 of 15



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                         CASE NO.:

  JORGE E. ESCOBAR
  and other similarly situated individuals,

          Plaintiff(s),
  v.

  CHOCOLATE FASHION, INC.
  and PERSEVERANIA BERGER, individually

        Defendants,
  _____________________________________/

                                        COMPLAINT
                            (OPT-IN PURSUANT TO 29 U.S.C § 216(b))

          COMES NOW the Plaintiff JORGE E. ESCOBAR, and other similarly situated

  individuals, by and through the undersigned counsel, and hereby sues Defendants CHOCOLATE

  FASHION, INC., and PERSEVERANIA BERGER, individually and alleges:

                             JURISDICTION VENUES AND PARTIES

       1. This is an action to recover money damages for retaliation and unpaid half-time overtime

          wages, under the laws of the United States. This Court has jurisdiction pursuant to the Fair

          Labor Standards Act, 29 U.S.C. § 201-219 (Section 216 for jurisdictional placement) (“the

          Act”).

       2. Plaintiff JORGE E. ESCOBAR is a resident of Miami-Dade County, Florida, within the

          jurisdiction of this Honorable Court. The Plaintiff is a covered employee for purposes of

          the Act.

       3. Defendant CHOCOLATE FASHION, INC. (hereinafter CHOCOLATE FASHION

          RESTAURANT, or Defendant) is a Florida corporation, having a place of business in



                                              Page 1 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 2 of 15



        Miami-Dade County, Florida, where Plaintiff worked for Defendant. The Defendant was

        and is engaged in interstate commerce.

     4. The individual Defendant PERSEVERANIA BERGER was and is now, the owner/officer

        and manager of Defendant Corporation CHOCOLATE FASHION RESTAURANT.

        Defendant PERSEVERANIA BERGER is the employer of Plaintiff and others similarly

        situated within the meaning of Section 3(d) of the “Fair Labor Standards Act” [29 U.S.C.

        § 203(d)].

     5. All the actions raised in this complaint took place in Miami/Dade County Florida, within

        the jurisdiction of this Court.

                                    GENERAL ALLEGATIONS

     6. This cause of action is brought by Plaintiff JORGE E. ESCOBAR as a collective action to

        recover from Defendants half-time overtime compensation, liquidated damages, retaliatory

        damages and the costs and reasonable attorney’s fees under the provisions of Fair Labor

        Standards Act, as amended, 29 U.S.C. § 201 et seq (the “FLA or the “ACT”) on behalf of

        Plaintiff and all other current and former employees similarly situated to Plaintiff (“the

        asserted class”) and who worked in excess of forty (40) hours during one or more weeks

        on or after March 25, 2019, (the “material time”) without being properly compensated.

     7. Defendant CHOCOLATE FASHION RESTAURANT is a gourmet bakery/restaurant and

        catering service located at 248 Andalusia Avenue, Coral Gables, Florida 33139, where

        Plaintiff worked.

     8. Defendants CHOCOLATE FASHION RESTAURANT and PERSEVERANIA BERGER

        employed Plaintiff JORGE E. ESCOBAR as a line cook, and to perform general restaurant

        work from approximately March 25, 2019, to December 8, 20169 or 37 weeks. However,



                                          Page 2 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 3 of 15



        for FLSA purposes, Plaintiff relevant time of employment is 34 weeks. Plaintiff did not

        work overtime hours during his first week of employment, and for two weeks before his

        termination.

     9. The Plaintiff was hired as a non-exempted full-time, hourly, restaurant employee, and

        during his relevant employment period, he was paid $12.00 an hour. The Plaintiff’s

        overtime rate should be $18.00 an hour.

     10. While employed by Defendants, Plaintiff worked 6 days per week a very irregular

        schedule. Plaintiff worked AM and PM shifts, he worked a different number of hours every

        week, but he always worked in excess of 40 hours weekly.

     11. Plaintiff estimates that he worked a minimum average of 48 hours every week. The Plaintiff

        was unable to take bonafide lunch periods.

     12. The Plaintiff was paid for all his working hours, but at his regular rate of $12.00 an hour.

        The Plaintiff was not paid for overtime hours.

     13. The Plaintiff did not clock-in and out because Defendants did not use any timekeeping

        device, but he signed timesheets. Defendants were able keep track the hours worked by

        Plaintiff and other similarly situated individuals.

     14. Therefore, Defendants willfully failed to pay Plaintiff overtime hours at the rate of time

        and one-half his regular rate for every hour that he worked in excess of forty (40), in

        violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).

        and 29 U.S.C. § 201 et seq.

     15. The Plaintiff was paid weekly strictly in cash, without any record or paystub showing basic

        information such as number of days and hours worked, wage-rate paid, employee’s taxes

        withheld etc.



                                            Page 3 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 4 of 15



     16. On or about November 25, 2019, the Plaintiff complained to his supervisor, Chef Marcos

        Garcia, about the lack of payment for overtime hours.

     17. Immediately after the Plaintiff’s complaint, his working hours were reduced, and he was

        given unfair treatment in reference to his schedules. The Plaintiff reported to work as

        scheduled, but he was not allowed to start working alleging last-minute changes.

     18. On or about December 08, 2019, the Plaintiff reported to work as scheduled, however he

        was sent home again. This time, Plaintiff protested and complained to his supervisor about

        the unexpected change of schedule, the reduction of his working hours, and the lack of

        payment for overtime hours. There was an argument in which Plaintiff told his supervisor

        Chef Marcos Garcia, that he felt discriminated and that he was suffering retaliation because

        of his requests to be paid for overtime hours worked. As a result of Plaintiff’s complaints,

        Defendants fired Plaintiff on the spot.

     19. The Plaintiff is not in possession of time and payment records, but he will provide a good

        faith estimate about unpaid overtime hours based on a workweek of 48 hours average. After

        proper discovery, Plaintiff will adjust his Statement of Claim accordingly.

     20. Plaintiff JORGE E. ESCOBAR seeks to recover half-time overtime wages for every hour

        in excess of 40 that he worked during the relevant employment period with Defendants,

        liquidated damages, retaliatory damages, and any other relief as allowable by law.

     21. The additional persons who may become Plaintiffs in this action are employees and/or

        former employees of Defendants who are and who were subject to the unlawful payroll

        practices and procedures of Defendants and were not paid overtime wages at the rate of

        time and one half of their regular rate of pay for all overtime hours worked in excess of

        forty.



                                            Page 4 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 5 of 15



                                 COUNT I:
               WAGE AND HOUR FEDERAL STATUTORY VIOLATION;
             FAILURE TO PAY OVERTIME; AGAINST ALL DEFENDANTS

     22. Plaintiff JORGE E. ESCOBAR re-adopts every factual allegation as stated in paragraphs

        1-21 above as if set out in full herein.

     23. This cause of action is brought by Plaintiff JORGE E. ESCOBAR as a collective action to

        recover from Defendants' overtime compensation, liquidated damages, costs and

        reasonable attorney’s fees under the provisions of the Fair Labor Standards Act, as

        amended, 29 U.S.C. § 201 et seq (the “FLA or the “ACT”), on behalf of Plaintiff and all

        other current and former employees similarly situated to Plaintiff (“the asserted class”) and

        who worked in excess of forty (40) hours during one or more weeks on or after March 25,

        2019, (the “material time”) without being compensated “at a rate not less than one and a

        half times the regular rate at which he is employed.”

     24. Defendant CHOCOLATE FASHION RESTAURANT was and is engaged in interstate

        commerce as defined in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A).

        The Defendant is a retail business operating as a bakery/restaurant and is engaged in

        interstate commerce. The Defendant also operates an online store. The Defendant had more

        than two employees recurrently engaged in commerce or in the production of goods for

        commerce, by regularly and recurrently ordering restaurant supplies produced out of state,

        by using the instrumentalities of interstate commerce to accept and solicit funds from non-

        Florida sources, by using electronic devices to authorize credit card transactions etc. Upon

        information and belief, the proportional annual gross revenue of the Employer/Defendant

        was always in excess of $500,000 per annum. Therefore, there is FLSA enterprise

        coverage.



                                             Page 5 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 6 of 15



     25. Plaintiff and those similarly situated were employed by an enterprise engaged in interstate

        commerce. Plaintiff and those similarly situated regularly handled and worked on goods

        and materials that were moved across State lines at any time in the course of business.

        Therefore, there is FLSA individual coverage.

     26. Defendants CHOCOLATE FASHION RESTAURANT and PERSEVERANIA BERGER

        employed Plaintiff JORGE E. ESCOBAR as a line cook and to perform general restaurant

        work from approximately March 25, 2019, to December 8, 2019 or 37 weeks. However,

        for FLSA purposes, Plaintiff relevant time of employment is 34 weeks. Plaintiff did not

        work overtime hours during his first week of employment, and during two weeks before

        his termination.

     27. The Plaintiff was hired as a non-exempted full-time, hourly, restaurant employee, and

        during his relevant employment period, he was paid $12.00 an hour. The plaintiff’s

        overtime rate should be $18.00 an hour.

     28. While employed by Defendants, Plaintiff worked 6 days per week a very irregular

        schedule, an average of 48 hours weekly. The Plaintiff was unable to take bonafide lunch

        periods.

     29. The Plaintiff was paid for all his working hours, but at his regular rate of $12.00 an hour.

        The Plaintiff was not paid for overtime hours.

     30. The Plaintiff did not clock-in and out because Defendants did not use any timekeeping

        device, but he signed timesheets. Defendants were able keep track the hours worked by

        Plaintiff and other similarly situated individuals.

     31. Therefore, Defendants willfully failed to pay Plaintiff overtime hours at the rate of time

        and one-half his regular rate for every hour that he worked in excess of forty (40), in



                                            Page 6 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 7 of 15



        violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).

        and 29 U.S.C. § 201 et seq.

     32. The Plaintiff was paid weekly strictly in cash, without any record or paystub showing basic

        information such as number of days and hour worked, wage-rate paid, employee’s taxes

        withheld etc.

     33. The records, if any, concerning the number of hours worked by Plaintiff and those similarly

        situated, and the compensation paid to such employees should be in the possession and

        custody of Defendants. However, upon information and belief, Defendants did not

        maintain time accurate records of hours worked by the Plaintiff and other employees.

     34. Defendants violated the record-keeping requirements of FLSA, 29 CFR Part 516.

     35. Prior to the completion of discovery and to the best of Plaintiff’s knowledge, at the time of

        the filing of this complaint, the Plaintiff’s good faith estimate of unpaid overtime wages is

        as follows:

        * Please note that these amounts are based on a workweek of 48 hours average and that
        these figures could be subject to modifications as discovery could dictate.

            a. Total amount of alleged unpaid O/T wages:

                One Thousand Six Hundred Thirty-Two Dollars and 00/100 ($1,632.00)

            b. Calculation of such wages:

                Total time of employment: 37 weeks
                Total number of relevant weeks: 34 weeks
                Total hours worked: 48 hours weekly
                Total overtime hours: 8 hours
                Regular rate: $12.00 x 1.5= $18.00 O/T rate
                O/T rate: $18.00-$12.00 rate paid=$6.00 half-time difference

                Half-time diff. $6.00 x 8 O/T hours=$48.00 weekly x 34 weeks=$1,632.00

            c. Nature of wages (e.g. overtime or straight time):



                                             Page 7 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 8 of 15



                This amount represents unpaid overtime wages.

     36. At all times material hereto, the Employers/Defendants failed to comply with Title 29

        U.S.C. §207 (a) (1), in that Plaintiff and those similarly-situated performed services and

        worked in excess of the maximum hours provided by the Act but no provision was made

        by the Defendants to properly pay them at the rate of time and one half for all hours worked

        in excess of forty hours (40) per workweek as provided in said Act.

     37. Defendants knew and/or showed reckless disregard of the provisions of the Act concerning

        the payment of overtime wages as required by the Fair Labor Standards Act and remain

        owing Plaintiff and those similarly-situated these overtime wages since the commencement

        of Plaintiff’s and those similarly-situated employee’s employment with Defendants as set

        forth above, and Plaintiff and those similarly-situated are entitled to recover double

        damages.

     38. At the times mentioned, individual Defendant PERSEVERANIA BERGER was the owner

        and manager of CHOCOLATE FASHION RESTAURANT. Defendant PERSEVERANIA

        BERGER was the employer of Plaintiff and others similarly situated within the meaning

        of Section 3(d) of the “Fair Labor Standards Act” [29 U.S.C. § 203(d)]. In that, this

        individual Defendant acted directly in the interests of CHOCOLATE FASHION

        RESTAURANT in relation to their employees, including Plaintiff and others similarly

        situated. Defendant PERSEVERANIA BERGER had absolute financial and operational

        control of the Corporation, determined terms and working conditions of Plaintiff and other

        similarly situated employees, and he is jointly and severally liable for the Plaintiff’s

        damages.




                                           Page 8 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 9 of 15



     39. Defendants CHOCOLATE FASHION RESTAURANT and PERSEVERANIA BERGER

         willfully and intentionally refused to pay Plaintiff overtime wages at the rate of time and

         one half his regular rate, as required by the law of the United States, and remains owing

         Plaintiff these overtime wages since the commencement of Plaintiff’s employment with

         Defendants as set forth above.

     40. The Plaintiff has retained the law offices of the undersigned attorney to represent him in

         this action and is obligated to pay a reasonable attorneys’ fee.



                                       PRAYER FOR RELIEF

  WHEREFORE, Plaintiff JORGE E. ESCOBAR and those similarly situated respectfully requests

  that this Honorable Court:

         A. Enter judgment for Plaintiff JORGE E. ESCOBAR and other similarly situated

             individuals and against the Defendants CHOCOLATE FASHION RESTAURANT and

             PERSEVERANIA BERGER based on Defendants’ willful violations of the Fair Labor

             Standards Act, 29 U.S.C. § 201 et seq.; and

         B. Award Plaintiff JORGE E. ESCOBAR actual damages in the amount shown to be due

             for unpaid overtime compensation for hours worked in excess of forty weekly, with

             interest; and

         C. Award Plaintiff an equal amount in double damages/liquidated damages; and

         D. Award Plaintiff reasonable attorneys' fees and costs of suit; and

         E. Grant such other and further relief as this Court deems equitable and just and/or

             available pursuant to Federal Law.

                                          JURY DEMAND



                                             Page 9 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 10 of 15



  Plaintiff JORGE E. ESCOBAR demands trial by a jury of all issues triable as of right by jury.

                               COUNT II:
         FEDERAL STATUTORY VIOLATION PURSUANT TO 29 U.S.C. 215 (a)(3)
             RETALIATORY DISCHARGE; AGAINST ALL DEFENDANTS

     41. Plaintiff JORGE E. ESCOBAR re-adopts every factual allegation as stated in paragraphs

         1-20 of this complaint as if set out in full herein.

     42. This Court has jurisdiction pursuant to The Fair Labor Standards Act, 29 U.S.C. §§ 201-

         219 (section #216 for jurisdictional placement) as well as the Florida Constitution that vests

         this action within a court of competent jurisdiction.

     43. Defendant CHOCOLATE FASHION RESTAURANT was and is engaged in interstate

         commerce as defined in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A).

         The Defendant is a retail business operating as a bakery/restaurant and is engaged in

         interstate commerce. The Defendant also operates an online store. The Defendant had more

         than two employees recurrently engaged in commerce or in the production of goods for

         commerce, by regularly and recurrently ordering restaurant supplies produced out of state,

         by using the instrumentalities of interstate commerce to accept and solicit funds from non-

         Florida sources, by using electronic devices to authorize credit card transactions. Upon

         information and belief, the proportional annual gross revenue of the Employer/Defendant

         was always in excess of $500,000 per annum. Therefore, there is FLSA enterprise

         coverage.

     44. Plaintiff and those similarly situated were employed by an enterprise engaged in interstate

         commerce. Plaintiff and those similarly situated regularly handled and worked on goods

         and materials that were moved across State lines at any time in the course of business.

         Therefore, there is FLSA individual coverage.



                                             Page 10 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 11 of 15



     45. By reason of the foregoing, Defendants’ business activities involve those to which the Fair

        Labor Standards Act applies.

     46. 29 U.S.C. § 207 (a) (1) states, "if an employer employs an employee for more than forty

        hours in any workweek, the employer must compensate the employee for hours in excess

        of forty at the rate of at least one and one-half times the employee's regular rate…."

     47. Likewise, 29 U.S.C. 215(a)(3) states... it shall be unlawful for any person— “to discharge

        or in any other manner discriminate against any employee because such employee has filed

        any complaint or instituted or caused to be instituted any proceeding under or related to

        this chapter, or has testified or is about to testify in any such proceeding,......”

     48. Defendants CHOCOLATE FASHION RESTAURANT and PERSEVERANIA BERGER

        employed Plaintiff JORGE E. ESCOBAR as a line cook and to perform general restaurant

        work from approximately March 25, 2019, to December 8, 2019 or 37 weeks. However,

        for FLSA purposes, Plaintiff relevant time of employment is 34 weeks. Plaintiff did not

        work overtime hours during his first week of employment, and during two weeks before

        his termination.

     49. While employed by Defendants, Plaintiff worked 6 days per week a very irregular

        schedule. Plaintiff worked AM and PM shifts, he worked a different number of hours every

        week, but he always worked in excess of 40 hours weekly.

     50. Plaintiff estimates that he worked a minimum average of 48 hours every week. The Plaintiff

        was unable to take bonafide lunch periods.

     51. The Plaintiff was paid for all his working hours, but at his regular rate of $12.00 an hour.

        The Plaintiff was not paid for overtime hours.




                                             Page 11 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 12 of 15



     52. The Plaintiff did not clock-in and out because Defendants did not use any timekeeping

        device, but he signed timesheets. Defendants were able keep track the hours worked by

        Plaintiff and other similarly situated individuals.

     53. Therefore, Defendants willfully failed to pay Plaintiff overtime hours at the rate of time

        and one-half his regular rate for every hour that he worked in excess of forty (40), in

        violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).

        and 29 U.S.C. § 201 et seq.

     54. The Plaintiff was paid weekly strictly in cash, without any record or paystub showing basic

        information such as number of days and hour worked, wage-rate paid, employee’s taxes

        withheld etc.

     55. Plaintiff was not in agreement with the payment received for his working hours and on or

        about November 25, 2019, the Plaintiff complained to his supervisor, Chef Marcos Garcia.

        The Plaintiff demanded to be paid for overtime hours.

     56. This complaint constituted protected activity under the Fair Labor Standards Act.

     57. Immediately after the Plaintiff’s complaint, his working hours were reduced, and he was

        given unfair treatment in reference to his schedules. The Plaintiff reported to work as

        scheduled, but he was not allowed to start working alleging last-minute changes.

     58. On or about December 08, 2019, the Plaintiff reported to work as scheduled, however he

        was sent home again. This time, Plaintiff protested and complained to his supervisor about

        the unexpected change of schedule, the reduction of his working hours, and the lack of

        payment for overtime hours. There was an argument in which Plaintiff told his supervisor

        Chef Marcos Garcia, that he felt discriminated and that he was suffering retaliation because




                                            Page 12 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 13 of 15



        of his requests to be paid for overtime hours worked. As a result of Plaintiff’s complaints,

        Defendants fired Plaintiff on the spot.

     59. At all times during his employment with Defendants, Plaintiff performed his duties

        satisfactorily. There was no reason other than a retaliatory action to terminate Plaintiff’s

        employment with Defendants.

     60. There is proximity between Plaintiff’s protected activity and his termination.

     61. The Defendants’ termination of the Plaintiff was in direct violation of 29 U.S.C. 215 (a)

        (3) and, as a direct result, the Plaintiff has been damaged.

     62. At the times mentioned, individual Defendant PERSEVERANIA BERGER was the owner

        and manager of CHOCOLATE FASHION RESTAURANT. Defendant PERSEVERANIA

        BERGER was the employer of Plaintiff and others similarly situated within the meaning

        of Section 3(d) of the “Fair Labor Standards Act” [29 U.S.C. § 203(d)]. In that, this

        individual Defendant acted directly in the interests of CHOCOLATE FASHION

        RESTAURANT in relation to their employees, including Plaintiff and others similarly

        situated. Defendant PERSEVERANIA BERGER had absolute financial and operational

        control of the Corporation, he determined terms and working conditions of Plaintiff and

        other similarly situated employees, and he is jointly and severally liable for Plaintiff’s

        damages.

     63. Plaintiff JORGE E. ESCOBAR seeks to recover overtime wages for every hour in excess

        of 40 that he worked, liquidated damages, retaliatory damages, and any other relief as

        allowable by law.

     64. The Plaintiff has retained the law offices of the undersigned attorney to represent him in

        this action and is obligated to pay a reasonable attorneys’ fee.



                                           Page 13 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 14 of 15



                                        PRAYER FOR RELIEF

  WHEREFORE, Plaintiff JORGE E. ESCOBAR respectfully requests that this Honorable Court:

          A. Issue a declaratory judgment that Defendants’ acts, policies, practices, and procedures

              complained of herein violated provisions of the Fair Labor Standards Act;

          B. Enter judgment against the Defendants CHOCOLATE FASHION RESTAURANT and

              PERSEVERANIA BERGER that Plaintiff recovers compensatory, damages and an

              equal amount of liquidated damages as provided under the law and in 29 U.S.C. §

              216(b);

          C. That Plaintiff recovers an award of reasonable attorney fees, costs, and expenses.

          D. Order      the   Defendants    CHOCOLATE         FASHION       RESTAURANT            and

              PERSEVERANIA BERGER to make whole the Plaintiff by providing appropriate

              back pay and other benefits wrongly denied in an amount to be shown at trial and other

              affirmative relief;

          E. Plaintiff JORGE E. ESCOBAR further prays for such additional relief as the interests

              of justice may require.

                                           JURY DEMAND

  Plaintiff JORGE E. ESCOBAR demands trial by a jury of all issues triable as of right by jury.

  Dated: February 1, 2020

                                                  Respectfully submitted,


                                                  By: _/s/ Zandro E. Palma____
                                                  ZANDRO E. PALMA, P.A.
                                                  Florida Bar No.: 0024031
                                                  9100 S. Dadeland Blvd.
                                                  Suite 1500
                                                  Miami, FL 33156
                                                  Telephone: (305) 446-1500

                                            Page 14 of 15
Case 1:20-cv-20461-RNS Document 1 Entered on FLSD Docket 02/01/2020 Page 15 of 15



                                        Facsimile: (305) 446-1502
                                        zep@thepalmalawgroup.com
                                        Attorney for Plaintiff




                                   Page 15 of 15
